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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                        MEMORANDUM



 Case No.       CV 16-9368 DSF (AGRx)                               Date   2/7/18
 Title     Tom Schmidt v. Sherri Annd Baldy, et al.

 Present: The Honorable         DALE S. FISCHER, United States District Judge
                 Debra Plato                                 Not Present
                 Deputy Clerk                               Court Reporter
      Attorneys Present for Plaintiffs:             Attorneys Present for Defendants:
                  Not Present                                 Not Present
 Proceedings:           (In Chambers) Order Conditionally Granting Motion to Withdraw
                        as Counsel

      Having read and considered the Motion, the Court deems this matter appropriate
for decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-15. The
hearing set for February 26, 2018 is removed from the Court’s calendar.

       Good cause has been shown. Therefore, the Court grants the Motion effective on
the date that moving counsel files and serves – on the client and all attorneys of record –
a declaration (in the form specified in 28 U.S.C. § 1746) that:

      (1) Sets forth the client’s current address and telephone number, recently verified
as accurate by the withdrawing counsel;

       (2) Informs the client and all attorneys of record that the stated address will be the
address to which all future documents will be served or sent until changed by appropriate
notice or substitution of attorney;

       (3) Informs the client of all future dates now set in this action, including, but not
limited to, pre-trial conference related dates, discovery cut-off dates, the motion cut-off
date, and dates relating to any pending discovery obligations;

      (4) Informs any individual client that any individual appearing pro se will be
required to comply with this Court’s standing orders, this District’s Local Rules, the
Federal Rules of Civil Procedure and all other Federal Rules;
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        (5) Informs the client when and where the client may obtain the client’s case file, if
it is not already in the client’s possession;

         (6) Informs the client of the following:

                 The Court may not provide advice to any party, including persons
         who are not represented by a lawyer. (Such persons are known as “pro se
         litigants.”) However, this District does have “Pro Se Clinics” that can
         provide information and assistance about many aspects of dealing with a
         lawsuit in this Court. The Western Division (Los Angeles) Clinic is run by
         Public Counsel, a non-profit public interest law firm, and it is staffed by
         lawyers and a paralegal. In order to benefit from the assistance the Clinic
         may be able to provide, you have to go there directly. The Clinic is open on
         Mondays, Wednesdays, and Fridays, from 9:30 a.m. to 12:00 noon and from
         2:00 p.m. to 4:00 p.m. Clinic staff will see visitors during open hours on a
         first come, first served basis. If you arrive early in the day, you have a better
         chance of being seen promptly. The Clinic is located in Room G-19 on the
         Main Street Floor of the U.S. Courthouse at 312 N. Spring Street, Los
         Angeles, California 90012. Although the Clinic does not provide
         information telephonically, for further information about it you may call
         (213) 385-2977, ext. 270.

               The Eastern Division (Riverside) Clinic is run by the Public Service
         Law Corporation and is open on Tuesdays and Thursdays from 10:00 a.m. to
         2:00 p.m. The Clinic is located at the George R. Brown Federal Building,
         3420 Twelfth Street, Room 125, Riverside, California 92501. For additional
         information call (951) 682-7968.

             The Southern Division (Santa Ana) Clinic is run by the Public Law
      Center and is open on Thursdays from 10:00 a.m. to 12:00 noon and 1:30
      p.m. to 3:30 p.m. The Clinic is located at the Ronald Reagan Federal
      Building and United States Courthouse, 411 W. 4th Street, Room 1055,
      Santa Ana, California 92701. For additional information call 714-541-1010,
      ext. 222.
      Counsel must also provide a proof of service of this Order and the required
declaration.


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      Failure to comply with the above requirements by February 21, 2018 will result in
the denial of the Motion.

      Effective on the date counsel complies with this Order, plaintiff will represent
himself/herself, and the docket will be amended to reflect the address for plaintiff as
described in counsel’s declaration.

         IT IS SO ORDERED.




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